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writing, the 2009 PRA was still pending before Congress).
In their place, new, weaker language called upon judges to           ment lawsuits. Overall, the high-tech industries argue, the
play a more prominent "gatekeeper" role in determining what          "tax" they currently pay to bring products to market would
damages methodologies could be presented to juries.                  be reduced and there would be greater certainty. All of this
                                                                     would lead to more product development.
A Tale of Two Positions                                                 On the other side of the divide are the pharmaceutical
The damages debate has sharply divided industries into two           and manufacturing industries. Companies in these industries
camps. On one side are high-tech companies that develop              maintain that full patent protection is necessary to protect
complex products to bring together multiple technologies on          the substantial sunk-cost investments they are required to
which hundreds, if not thousands, of patents read. On the other      make into research and development. The situation faced by
side are pharmaceutical and manufacturing companies, whose           ph araceutical companies is particularly illustrative. Given
products are more often covered by one or only a few patents.        the length of time required to conduct the clinical trials
    Companies in high-tech industries express frustration            necessary for FDA approval, and the high likelihood that
over high litigation costs and large damage awards related to        any given drug development project will fail, patent protec-
patents that cover only a small feature of the overall product.      tion for those projects that actually succeed in producing a
These large damage awards, they argue, are unreasonable              marketable product is crucial. Without such protection, the
because they disregard the role that other inputs, including         pharmaceutical companies say, they will have substantially
other technologies, play in the research, development, and           reduced incentives to invest in these long-term risky develop-
commercialization of products. Moreover, because these               ment projects. At the same time, a pharmaceutical product is
 minor' patents are often asserted against high-tech products
                                                                      Gregor K. Leonard is senior vice president, NER Economic
only after they have been launched, the problem of patent            Consulting. He can be reached at gregory.Ieonard@nera.com.
'hold up' is magnified: a company that has com tted to               Mar    ALPez
                                                                              o   is a senior consultant at NERA Economic
  technology may fmd i hard or costly to diserntangle the            Consulting. He can be reached at mario.lopez nera.cor The
potentially infinging technology from its product, leading to        views expressed are those of the authors and not necessarly those
higher royalty pyents in those cases that setle. The risk of         of NEA Economic Consultng


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typically covered by one or only a few patents. These patents           The solution to the debate over patent damages-a
are often "blocking"-the product could not be marketed              solution that should satisfy both camps in the debate
without infringing the patents. The pharmaceutical compa-           is for courts to focus on the analysis of the hypothetical
nies fear that any "apportionment" requirement will reduce          negotiation, as is often currently done, but additionally to
the damages they could collect from infringers because fact         require explicitly that damages experts use sound economic
finders will tend to understate the "value" of their patents.       principles when conducting the analysis. In some sense, this
    While both camps are focused on the same issue-the              solution does not require any further legislation because the
impact the framework for calculating damages has on their           hypothetical negotiation is already a Georgia Pacific fac-
incentives to bring products to market-they have taken              tor, and the requirement that experts use sound economic
polar opposite views of whether there is a need to change the       principles is mandated by Federal Rules of Evidence 701,
current framework. The reason for their divergent views is          which requires that expert testimony must be reliable to be
the different role that patents play in their respective indus-     admissible. The change our proposed solution would involve
tries. In high-tech industries, patents are, to some degree, a      is greater enforcement by courts of the reliability standards
hindrance to product development. Many high-tech compa-             for expert testimony. In particular, courts can and should
nies use their patent portfolios primarily defensively to stave     use their "gatekeeping" function under Daubert to exclude
off patent lawsuits brought against their products by other         damages experts who stray from sound economic principles
companies. In contrast, in the pharmaceutical industry, com-        in the analysis of the hypothetical negotiation. In our experi
panies use patents offensively to protect their own products        ence, however, courts have been hesitant to apply Daubert
from competition from infringers.                                   in IP cases.' This stands in contrast to antitrust cases, where
                                                                    Daubertchallenges are often seriously entertained by courts.
Getting It Right                                                    An increased scrutiny of expert testimony under Daubert
Is there a common framework for calculating reasonable              is also consistent with the 2009 PRA's revised provisions
royalty damages that would satisfy both camps, or are differ-       regarding patent damages.
ent frameworks needed for different industries or different             We are cognizant, however, that judges without a strong
contexts? The answer is that an analysis of the value of the        economic background may not feel comfortable excluding
patented technology that is based on sound business and             an expert's testimony, particularly when doing so would be
economic principles will give the "right" answer regardless         a determinative factor in the outcome of the litigation. Thus,
of the industry or context. Such an analysis can certainly be       we further propose that Congress request that a government
conducted within the current legal framework that governs           agency with expertise in economic analysis, such as the
the calculation of patent damages. However, the problem that        Federal Trade Commission, develop a set of guidelines for
exists today, and that has fueled the debate regarding patent       patent damages calculation. 5 These guidelines would lay out
damages, is that the legal framework does not do enough to          the basic set of economic principles that should govern any
specify the principles required for a sound damages analysis,       sound damages methodology. The guidelines could be used
so that too often litigants employ unsound methodologies that       both by judges to help determine whether a given methodol-
result in unreasonable damages claims being put before juries.      ogy is sound and also by litigants when they undertake their
    In our discussion, we will specifically address reasonable      damages analyses. 6
royalty damages, although similar conclusions would apply to
lost profits damages. The current framework for calculating         Economic Principles and "Apportionment"
reasonable royalty damages involves the application of the          How would the application of sound economic principles
Georgia Pacific factors.' One of the Georgia Pacific factors        in the calculation of reasonable royalty damages satisfy
is the analysis of a "hypothetical negotiation" assumed to take     both camps in the debate over "apportionment"? In short,
place at the time of first infringement between the plaintiff and   a correctly done economic analysis will identify a "minor"
the defendant regarding a license to the patented technology. In    patent and will assign a small royalty accordingly and, at the
our view, the analysis of the hypothetical negotiation provides     same time, will identify a 'major" patent and assign a large
an economicafly sound approach to deterining reason                 royalty. Economic analysis does this by focusing on the "next
able royalty damages. Thus, the current legal framework, as         best (noninfringing) alternative" that was available to the
reflected by the Georgia Pacific factors, can certainly produce     defendant at the time of the hypothetical negotiation. This is
an economically sound calculation of damages if applied in          best seen via examples.
accordance with economic principles. However, because the               Suppose a defendant sells a product that has a component
Georgia Pacific factors are presented as only a (possibly non-      covered by the plaintiff s patent. For example, the prod-
exhaustive) list of factors that one might consider, instead of a   uct might be a cellular handset where the patent covers a
set of principles for conducting the analysis, the current legal    particular feature of the handset that gives some functionality
framework unfortunately also gives damiages experts wide            to users. The defendant sold 1.000 units of the product. each
latitude to misapply the factors and reach an economically          at a price of $10 and a cost of $5. Suppose that the product
unsound calculation of damages. Tus, for example, we see thie       could be made noninfringing by dropping the patented
use of "comiparable" licenses that are not actually comiparable,     comnponent. The remaining product would be mnarketable but
and 'rules of thumb,'" such as the "25 percent rue," that typi      would be slightly less attractive to customers Specfically,
cally have no basis in economnic reality.                           if the defendant hid offered this noninfringing version of


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the product for $10, it would have sold 995 units instead of       and increase the royalty that it would be willing to pay. In
the 1,000 units it actually sold of the accused product. For       that case, the resulting reasonable royalty damage award may
simplicity, we assume cost would still have been $5. In that       incorporate "lock-in value" in addition to the inherent value
case, the value to the defendant of being able to offer the        of the technology. Congress may want to determine whether
small patented component is the difference in profit with and      this is a good outcome, as a policy matter. The alternative is
without the component, or [($10 - $5) x 1,000]- [($10 - $5)        to set the hypothetical negotiation at the earlier time when
x 995] = $25. The maximum royalty rate that the defendant          the defendant first decided to incorporate the technology and
would be willing to pay for a license is $25/$10,000 =             therefore was prior to the defendant being locked in.
0.25% of the revenue of the accused product. A reasonable             While such issues are important, they are secondary to
royalty should necessarily be bounded at 0.25% of sales.           the issue of establishing the basic framework for calculating
The royalty rate is low in this example because the defen-         patent damages. The result may not necessarily signify con-
dant had available to it a next best alternative-namely, the       sistently lower damage awards-important patents in either
product without the infringing component-that was a close          high-tech or pharmaceutical industries should receive higher-
substitute for the product that used the patented technology.      than-average royalties to provide incentives to innovate. But
Having this alternative available would have strengthened the      implementing such changes would reduce the uncertainty
defendant's bargaining position substantially and thus limited     surrounding the outcomes of the litigation process to both
the royalty that it would be willing to pay. This is an example    patent owners and potential infringers.
of a "minor" patent.                                                   As we have argued in this article, it would go a long way
    Suppose alternatively that, while the product could be sold    toward solving the damages problem while satisfying both
without the patented feature, the resulting product would be       camps in the debate if (1) reasonable royalty experts were
so unattractive that no consumer would want to buy it. For         required to focus on the analysis of the economic factors sur-
example, if the product were a pharmaceutical product, the         rounding the hypothetical negotiation, rather than "rules of
defendant could remove the patented active ingredient and          thumb" or "comparable licenses"; (2) courts more stringently
attempt to sell a sugar pill to treat an indication, but likely    enforced the Daubert standard for admissibility of expert
would have little luck doing so. The next best alternative in      testimony in patent cases; and (3) judges were aided in the
this example is not a very close substitute for the product that   application of Daubertby the FTC or other agency develop-
used the patented technology, and thus the entire profit of the    ing guidelines for sound patent damages calculation. M
product would be at risk if the defendant were not able to use
the patented technology. The upper bound that this defendant       Endnotes
                                                                          1. Georgia Pac. Corp. v. US. Plywood Corp., 18 F. Supp. 1116, 1120 (S.D.N.Y.
would be willing to pay would be ($10 - $5) x 1,000/$10,000
                                                                    1970).
= 50% royalty. This is an example of a "major" patent.                    2. In recent cases, the Court of Appeals for the Federal Circuit has demonstrated
    The preceding examples show that the application of the        skepticism regarding the use of roles of thomh and questionable comparahle licenses.
same set of economic principles led to the "right" answer in       For example, during oral argument in i4i Limited Partnership v. Microsofr Coip., 2009
                                                                   WL 4911950 (Fed. Cir. 2009), one of the judges questioned whether the "25% rule"
both cases. The key was the identification of the next best        was a methodology that was "just something pulled out of the air" (Audio Transcript
alternative to the patented technology, and the assessment          I at 0:51:30, i4i Limited Partnership v. Microsoft Corp., No. 2009-1504-1 (Fed. Cir.
                                                                   Sept. 23, 2009), available at http://oralargoments.cafc.uscourts.gov/searchscript.asp).
of the implications for the defendant's profitability of using
                                                                   In Lucent, the court determined that some of the supposedly comparable benchmark
that next best alternative instead of the patented technology.     licenses relied on by Lucent were in fact "radically different from the hypothetical
In this way, the patented technology can be appropriately           agreement under consideration."I iLcentTech's. Inc. v. Gateway, Inc 580 F.3d 1301,
valued, whether the patent is "major" or "minor."                   1327 (Fed. Cir. 2009).
                                                                          3. Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993). Indeed, while the 2009
                                                                   PRA proposes that the coos play a greater gatekeeping role, they already have suh-
Closing Thoughts                                                    stantial ahility to limit expert testimony from trial. For example, the Handbookfor
There remain some additional issues that Congress may want         Federal District Court Judges states, "no issue mia patent trial cries out for strict appli-
                                                                   cation of the gate-keeping tools of Federal Rules of Evidence 702, 703 and 705 and the
to address through patent reform legislation. For example,         Supreme Court's Daubert decision more than darmages.'See COMPENSATORY DAMAGES
current law mandates that the date of the hypothetical             Issurs IN PATNT INFRINGLMENT CAsEs. A HANDBOO              Fo R   FEDERAL   DisricT
negotiation be set at the time of first infringement. In some      CoURTJUDiGEs (Jan. 2010), http://vww.nationaljuryinstructions.org/documents/
                                                                   DamagesHandhookFinal.pdf.
cases, the defendant may have incorporated the technology of             4. This may he in part doe to the existence of the Georgia Pacific factors them-
the patent-in-suit before the patent actually issued. Thus, the     selves. As previously noted, no priority or weight is assigned to the varioos factors. This
defendant's choice to incorporate the technology was nonin-        may make it difficult for courts to exclude testimony in which an expert has applied
                                                                    some at the Georgia Pac ifie tactors to arrive at a royalty, even ii it is not consistent
fringing at the time the decision was made. In a reasonable        with hasic economic principles.
royalty analysis, however, the hypothetical negotiation would            5. The FT[C would appear to he wcll-positioned to perform this task since it has
be set at the date of patent issuance since that is the time of    heen holding hearings on the 'Evolving IP Marketplace"' over the last year, includ-
                                                                   ing a session on the calculation of damages. See Fed. Trade Comm n. Thc Evolving IP
first infringement, rather than when the defendant incorporat-     Marketplace, http://www.ftc.gov/bc/workshops/ipmarketplace/.
ed the technology. At that later time, the defendant may have            6. The role of such damages goidelines could he similar to the rolc played by the
been 'locked" into the patented technology, so that it would       Department of Justice and Fcderal Trade Commission Merger Guidclinec se DEP'T Oa
                                                                   Jusrics & FLO TRADE CoMM'N, HORIZONTAL MERGER GumonuiEs (Apr. 1997), http:/
have been more costly to switch to the next best alternative       w w osdoj gvatr/puhlic/goidelines/hrit hook/hmg!.html. The Mercger Gi del1e
at that point than it would have beer when the technology          are  afecited by courts ie antitrust caes although tichecreot hinding
decision was made. Being locked in can weaken the defer-
dant's negotiating position in the hypothetical negotiation


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